                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

LAUD ESSANDOH                                    §
                                                 §
v.                                               §      NO. 4:25-CV-00746-ALM-BD
                                                 §
CAPITAL ONE BANK NA                              §


                                               ORDER

     Pro se plaintiﬀ Laud Essandoh has not paid the required ﬁling fee. And Essandoh’s motion to

proceed in forma pauperis, which was ﬁled in the Northern District of Texas, was deemed moot

once the case was transferred to this court. See Dkts. 4, 8; Loc. R. CV-7(j).

     It is ORDERED that, within 30 days of the entry of this order, Essandoh must either pay the

ﬁling. fee or submit an application to proceed in forma pauperis. Failure to comply with this order

may result in the dismissal of this lawsuit.

     So ORDERED and SIGNED this 14th day of July, 2025.



                                        ________________________________________
                                        Bill Davis
                                        United States Magistrate Judge
